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 )LOO LQ WKLV LQIRUPDWLRQ WR LGHQWLI\ WKH FDVH
 'HEWRU     7DUD & 6WHHOH

 'HEWRU 

  6SRXVH LI ILOLQJ

 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH &(175$/ 'LVWULFW RI &$/,)251,$

 &DVH QXPEHU EN6<

2IILFLDO )RUP 6
1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                                                                                  
,I WKH GHEWRU¶V SODQ SURYLGHV IRU SD\PHQW RI SRVWSHWLWLRQ FRQWUDFWXDO LQVWDOOPHQWV RQ \RXU FODLP VHFXUHG E\ D VHFXULW\ LQWHUHVW LQ WKH GHEWRU¶V
SULQFLSDO UHVLGHQFH \RX PXVW XVH WKLV IRUP WR JLYH QRWLFH RI DQ\ FKDQJHV LQ WKH LQVWDOOPHQW SD\PHQW DPRXQW )LOH WKLV IRUP DV D VXSSOHPHQW
WR \RXU SURRI RI FODLP DW OHDVW  GD\V EHIRUH WKH QHZ SD\PHQW DPRXQW LV GXH 6HH %DQNUXSWF\ 5XOH 

1DPH RI FUHGLWRU 'HXWVFKH %DQN 1DWLRQDO 7UXVW &RPSDQ\ DV                       &RXUW FODLP QR LI NQRZQ  
7UXVWHH IRU $PHULFDQ +RPH 0RUWJDJH $VVHWV 7UXVW 
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LGHQWLI\ WKH GHEWRU¶V DFFRXQW                                               0XVW EH DW OHDVW  GD\V DIWHU GDWH
                                                                                 RI WKLV QRWLFH

                                                                                 1HZ WRWDO SD\PHQW 
                                                                                 3ULQFLSDO LQWHUHVW DQG HVFURZ LI DQ\

 3DUW        (VFURZ $FFRXQW 3D\PHQW $GMXVWPHQW

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU¶V HVFURZ DFFRXQW SD\PHQW"

         Ƒ 1R
         Ŷ <HV        $WWDFK D FRS\ RI WKH HVFURZ DFFRXQW VWDWHPHQW SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ 'HVFULEH
                       WKH EDVLV IRU WKH FKDQJH ,I D VWDWHPHQW LV QRW DWWDFKHG H[SODLQ ZK\
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         &XUUHQW HVFURZ SD\PHQW                             1HZ HVFURZ SD\PHQW 


 3DUW        0RUWJDJH 3D\PHQW $GMXVWPHQW

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          YDULDEOHUDWH DFFRXQW"

         Ŷ 1R
         Ƒ <HV       $WWDFK D FRS\ RI WKH UDWH FKDQJH QRWLFH SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ ,I D QRWLFH LV QRW DWWDFKHG
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         &XUUHQW SULQFLSDO DQG LQWHUHVW SD\PHQW          1HZ SULQFLSDO DQG LQWHUHVW SD\PHQW


 3DUW        2WKHU 3D\PHQW &KDQJH

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU V PRUWJDJH SD\PHQW IRU D UHDVRQ QRW OLVWHG DERYH"

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         Ƒ <HV        $WWDFK D FRS\ RI DQ\ GRFXPHQW GHVFULELQJ WKH EDVLV IRU WKH FKDQJH VXFK DV D UHSD\PHQW SODQ RU ORDQ PRGLILFDWLRQ DJUHHPHQW
                      &RXUW DSSURYDO PD\ EH UHTXLUHG EHIRUH WKH SD\PHQW FKDQJH FDQ WDNH HIIHFW

                      5HDVRQ IRU FKDQJH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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'HEWRU  7DUD & 6WHHOH                                                       &DVH QXPEHU LI NQRZQ EN6<
            3ULQW 1DPH            0LGGOH 1DPH      /DVW 1DPH




 3DUW        6LJQ +HUH


 7KH SHUVRQ FRPSOHWLQJ WKLV 1RWLFH PXVW VLJQ LW 6LJQ DQG SULQW \RXU QDPH DQG \RXU WLWOH LI DQ\ DQG VWDWH \RXU DGGUHVV DQG
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      Ŷ , DP WKH FUHGLWRU¶V DXWKRUL]HG DJHQW

 , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH LQIRUPDWLRQ SURYLGHG LQ WKLV FODLP LV WUXH DQG FRUUHFW WR WKH EHVW RI P\ NQRZOHGJH
 LQIRUPDWLRQ DQG UHDVRQDEOH EHOLHI
           David Coats                                               11/21/2024
     V                                                  'DWH
     6LJQDWXUH


                         David Matthew Coats
  3ULQW                                                                                                          7LWOH   $XWKRUL]HG $JHQW IRU &UHGLWRU
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  &RPSDQ\                5REHUWVRQ $QVFKXW] 6FKQHLG            &UDQH //3


  $GGUHVV                 3DUN 3OD]D 6XLWH 
                         1XPEHU                 6WUHHW


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 +RZHYHU WKLV QRWLFH RI PRUWJDJH SD\PHQW FKDQJH LV EHLQJ ILOHG WR HQVXUH WKH FUHGLWRU¶V FRPSOLDQFH ZLWK )HG 5 %DQNU

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    Ð¾¡  ¡ ²¤º ¡¡¢·Ñ                 Ð¾¡  ¡ ²¤º ²¾Ñ                 Íº ¸ Ê ¤¯¼ ¾ ²¤º ¡²²Ñ
    Þß áâãäåæ Þßçèéâêâ êâ ç äëìêëæ åí éåîä    Þß ëâãäåæ ãîâñêåß êâ ïñë çôåîßï åí       hopqrsq tu qo vwxtwuq r vwyzw{ o| q}w ~orp |ov
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    çäë ãåèèëãïëò òîäêßð ïñë éëçä ïå óçé      ïå ãåìëä çßé îßçßïêãêóçïëò ãåâïâ âîãñ çâ {vzqqwp vwxtwuqk utwsq qo w~zzz~zq ruw op
    îóãåôêßð êßâïçèèôëßïâ åí éåîä êßâîäçßãë   çß êßãäëçâë êß óäåóëäïé ïçøëâ åä         zpywuqov tz w~zpwu {w {z~~ vwyzw{ rp uwp otq
    óäëôêîôõâö çßò÷åä óäåóëäïé ïçøëâù Þßé     êßâîäçßãë óäëôêîôâ çßò óäëìëßïâ ïñë      poqz|zsrqzop {zq} q}w wszuzop
    êßãäëçâë åä òëãäëçâë ïå éåîä çßßîçè       ëâãäåæ þçèçßãë íäåô þëêßð åìëäòäçæßù
    óäåóëäïé ïçøëâ åä êßâîäçßãë óäëôêîôâ      Ċé èçæ ïñë ãîâñêåß ôîâï þë ßå ðäëçïëä    Ð¾¡ ¾¢¸ Ê ¸ Á ¾ ¡²²  ²¤º¸
    ôçé ãçîâë ïñë ôåäïðçðë óçéôëßï çôåîßï ïñçß åßë âêøïñ õĂ÷Čö åí ïñë ëâïêôçïëò ïåïçè ¡¸ Ê ¤²¼¸ ¡ ¸¢Ö ¡­ ´¢¢½ ¡­
    ïå ãñçßðëù úë óäåìêòë òëïçêèâ åí ïñë      çßßîçè òêâþîäâëôëßïâ íäåô ïñë ëâãäåæ     ­¯¶½ ¤ ¡­ ¤¸² ²Ñ
    çßßîçè çßçèéâêâ êß ïñë áâãäåæ Þããåîßï     çããåîßï
    ûïçïëôëßïù üñë âïçïëôëßï òëïçêèâ ïñë ôåâï                                          úäêïë ïñë çããåîßï ßîôþëä åß ïñë ïçø
    äëãëßï ëâãäåæ äëìêëæù ýåî ôçé äëãëêìë     ÊÁ ¾ ²¤º ¡²² ¾¡ ¡ ¤¶¢½     ãåääëâóåßòëßãë çßò âñçäë êï æêïñ îâÿ
    ôåäë ïñçß åßë çßçèéâêâ êß ïñë éëçäù üñëäë º¾ º¢¢ Ê ¤²¼ ¾ ¼¤¡¿ ²¾²ÂÑ
    çäë ç ßîôþëä åí äëçâåßâ íåä çß êßïëäêô                                             áôçêèÿ ěçßçüçøĜćåäïðçðëĝçôêèéùãåô
    ëâãäåæ çßçèéâêâù                          Ąí ïñë ëâãäåæ çßçèéâêâ äëâîèïëò êß çß    ĝçøÿ Ă ĎČă ČĘă ĘĘĘď
                                              ëâãäåæ âîäóèîâ ðäëçïëä ïñçß čĎďùďď çßò ćçêèÿ ąĖĖ ćåäïðçðë ûëäìêãêßð
    üñë ôåâï ãåôôåß äëçâåßâ çäëÿ              ïñë çããåîßï êâ ßåï ôåäë ïñçß Đď òçéâ     Þïïßÿ üçø Ĉëóçäïôëßï
                                              óçâï òîëĉ ñçâ ßåï þëëß äëíëääëò ïå       ąĔ Ċåø ăęČČĎ
        Ġ üñë èåçß æçâ çãĀîêäëò íäåô          íåäëãèåâîäëĉ çßò ïñë çããåîßï êâ ßåï êß   úëâï ąçèô Ċëçãñ ĝĞ ĐĐęĂČ ęČČĎ
             çßåïñëä âëäìêãëäù                þçßĆäîóïãé çï ïñë ïêôë ïñë ëâãäåæ
        Ġ Þ ôçïëäêçè ãñçßðë ïå êßâîäçßãë åä çßçèéâêâ êâ óëäíåäôëòĉ çß ëâãäåæ äëíîßò Ð¾¡ ¸ Ê ¸ Á ¾ ¡²² º¡ ²¤º¸ ¡
                                              ãñëãĆ æêèè ëêïñëä þë êßãèîòëò æêïñ ïñë
             ïçø çôåîßïâ òîëù                                                          ¡ ¤¢ Á ¡ ¸¢Ö ¡­ ¶¡·¯ ²
                                              ëâãäåæ çßçèéâêâ âïçïëôëßï åä âëßï îßòëä
        Ġ āñçßðëâ çíïëä ãèåâêßðù              âëóçäçïë ãåìëä æêïñêß Đď þîâêßëââ òçéâù ¡¸ Ê ¾¡¼ ¶¤Á Á ¶¡·¯Ñ
        Ġ   āñçßðë êß ïçø åä êßâîäçßãë òîë                                                 ýåî ãçß âëßò ïñë óäååí åí óçéôëßï ïå îâù
                                                Þßé âîäóèîâ îßòëä čĎďùďď æêèè þë
            òçïëâù                              çòđîâïëò íäåô ïñë ôåßïñèé ëâãäåæ           úäêïë éåîä çããåîßï ßîôþëä åß ïñë
                                                óçéôëßïù                                   ãåääëâóåßòëßãë çßò âëßò êï ïå îâÿ
    Íº  ¾ ¤Ö¤¸ ²¤º ´¿¿
    ¡²² ´¡¢¡² ¸¤¯¸Ñ                                                            áôçêèÿ ąäååíĔíüçøąçéôëßïâĜ
                                             Ð¾¤ ¸ Ê ¸ ¾ ²¤º ¾¤¡¿           ćåäïðçðëĝçôêèéùãåô
    üñë äëĀîêäëò þëðêßßêßð ëâãäåæ þçèçßãë êâ ¶¡·¯Ñ                                      ĝçøÿ Ă ĎČĂ ČĘă ĘĘĘď
    ôçòë îó åí ç ãîâñêåß óèîâ çßé óäåäçïëò      ýåî ôçé òêäëãï òëóåâêï ïñë ëâãäåæ          ćçêèÿ ąĖĖ ćåäïðçðë ûëäìêãêßð
    ïçøëâ çßò êßâîäçßãë ßëëòëò ïå íîèíêèè ïñë   âñåäïçðë çôåîßï ïå ïñë ëâãäåæ çããåîßï      Þïïßÿ üçø Ĉëóçäïôëßï
    çßïêãêóçïëò òêâþîäâëôëßïâ íåä ïñë ßëøï Ăă   îâêßð åîä óçé þé óñåßë âëäìêãë åä          ąĔ Ċåø ăęČČĎ
    ôåßïñâù                                     æëþâêïëù üñëäë ôçé þë íëëâ çââåãêçïëò      úëâï ąçèô Ċëçãñ ĝĞ ĐĐęĂČ ęČČĎ
    Ð¾· ¸¸ ¾ ¯¾¢· ²¤º ¶¡·¯          æêïñ ïñëâë óçéôëßï âëäìêãëâù ýåî ôçé
                                                                                           Ð¾¡ ¾¢¸ Ê ¸ Á Ê ¤²¼ ¡ ²¾²Â Á¤¯ ¯·
                                                çèâå âëßò êß íîßòâ ïå ëâãäåæ þé ôçêèù Ąí
    ²¾¡¿Ñ                                                                                ¤¡² ²¡¤¤¤ Á¤ ¶¤¶¤· ¸¡¯¡¿ ¤
                                                âëßòêßð þé ôçêèĉ þë âîäë ïå æäêïë ïñë
    üñë ôåßïñèé ëâãäåæ óçéôëßï êâ               çããåîßï ßîôþëä åß ïñë ãñëãĆ çßò            ¾¡¼ Ö ¤¿¡¤¸¿ ¡ ­¿ ²¢¡¯Ñ
    ãåôóäêâëò åí Ă÷Ăăïñ åí çèè çßïêãêóçïëò      âóëãêíé ĒáûāēĔú çóóèêãçïêåßĕ åß ïñë        ąèëçâë ãçèè îâ çï Ă ĘĘĘ ĘĘă ĂĘĂĎĉ ćåßòçé
    çßßîçè òêâþîäâëôëßïâù Ąí ïñëäë êâ çß        ôëôå èêßëù ćçêè ïåÿ                        ïñäåîðñ ĝäêòçé Ę çô ğ óô áü çßò
    êßãäëçâë åä òëãäëçâë êß ïñë çßßîçè ïçø åä                                              ûçïîäòçé Ę çô Ď óô áüù
                                                ąĖĖ ćåäïðçðë
    êßâîäçßãë çôåîßïâ ïñë ôåßïñèé ëâãäåæ
                                                ąĔ Ċåø ĐėĂĘČė
    óçéôëßï æêèè ãñçßðëù ąèëçâë äëíëä ïå ïñë                                               Ð¾¡ ¾¢¸ Ê ¸ Á Ê ²¾¡¿ ¤¡²
                                                ąêïïâþîäðñĉ ąÞ ĂĎăĎď ėĘČė
    ëâãäåæ çßçèéâêâ íåä ç ôåäë òëïçêèëò                                                    ²¡¤¤¤Ñ
    ëøóèçßçïêåß åí ïñë òêâþîäâëôëßï çôåîßïâù    Ĕìëäßêðñï ôçêèÿ
                                                ąĖĖ ćåäïðçðë                              Ąßâîäçßãë óåèêãé êßíåäôçïêåß ãçß þë
    Íº ¸¸ · ²¡¢²¢¡ ¾ º ²¤º        Þïïßÿ ĐėĂĘČ                               îóèåçòëò åß åîä æëþâêïë çï
    ¶¡·¯Ñ                                    Ďďď ēåââ ûïäëëï ĂĎę ďęėď                  ćéāåìëäçðëĄßíåùãåô÷ ćåäïðçðëĝçôêèéù ýåî
                                                ąêïïâþîäðñĉ ąÞ ĂĎăĎď                      ãçß çèâå âëßò îâ ç ãåóé åí ïñë êßâîäçßãë
    úë èêâï çèè óåââêþèë òêâþîäâëôëßïâ åä                                                 òëãèçäçïêåß óçðë þé íçø ïå Ă ğĐė ĎăĎ ęăĂď
    ëøóëßâëâ âîãñ çâ óäåóëäïé ïçøëâ åä         Ĕßãë ïñë ëâãäåæ íîßòâ çäë äëãëêìëòĉ ïñë åä þé ëôçêè ïå
    êßâîäçßãë óäëôêîôâ ïå þë óçêò åß éåîä      ôåßïñèé ëâãäåæ óçéôëßï æêèè þë çòđîâïëò ćåäïðçðëĝçôêèéĜćéāåìëäçðëĄßíåùãåôù
    þëñçèí íåä ïñë ßëøï Ăă ôåßïñâù úë ïçĆë ïñë æêïñêß Ăď þîâêßëââ òçéâ åí óåâïêßðù Ąí ïñë
    ïåïçè çßò òêìêòë ïñë çôåîßï þé Ăă          ëâãäåæ çßçèéâêâ òêâãèåâëâ ç âñåäïçðë       Ąí éåî ñçìë çßé Āîëâïêåßâ äëðçäòêßð éåîä
    óçéôëßïâù üåïçè çßïêãêóçïëò                ðäëçïëä ïñçß åßë ôåßïñĚâ ëâãäåæ            êßâîäçßãë óåèêãé êßíåäôçïêåßĉ óèëçâë ãåßïçãï
    òêâþîäâëôëßïâ òêìêòëò þé Ăă óçéôëßïâ       óçéôëßïĉ ąĖĖ ãçßßåï çßò òåëâ ßåï           åîä Ąßâîäçßãë āîâïåôëä āçäë ãëßïëä
    ëĀîçèâ ïñë ćåßïñèé áâãäåæ ąçéôëßïù Ĉîë äëĀîêäë äëóçéôëßï åí ïñêâ çôåîßï çßòĉ          òêäëãïèé íåä íîäïñëä çââêâïçßãë çï
    ïå ãñçßðëâ êß óäåóëäïé ïçøëâ åä êßâîäçßãë êßâïëçòĉ ąĖĖ ñçâ âóäëçò çßé âñåäïçðë        Ă ĘĘĘ ĘĘă ĂĘĎĎĉ ćåßòçé ïñäåîðñ ĝäêòçéĉ Ę
    óäëôêîôâĉ êï êâ óåââêþèë ïñë ëâãäåæ        çãäåââ ïñë ôåßïñèé ëâãäåæ óçéôëßïâù        çô ğ óô áü çßò ûçïîäòçé Ę çô Ď óô áü
    çããåîßï ãåîèò ëßò îó æêïñ ç þçèçßãë
    æñêãñ êâ èëââ ïñçß ïñë ïçäðëï ãîâñêåß
    çôåîßïù üñêâ êâ äëíëääëò ïå çâ ç âñåäïçðëù
    Þßé âñåäïçðë åí íîßòâ êß ïñë ëâãäåæ
    çããåîßï æêèè þë òëïëäôêßëò çï ïñë ïêôë åí
    ïñë ëâãäåæ çßçèéâêâù Þòòêïêåßçèèéĉ êï êâ
    óåââêþèë ïñë ëâãäåæ çããåîßï ãåîèò ëßò îó
    æêïñ ç þçèçßãë æñêãñ êâ ðäëçïëä ïñçß ïñë
    äëĀîêäëò ãîâñêåß çôåîßïù üñêâ êâ äëíëääëò
    ïå çâ ç âîäóèîâù
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